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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


GABRIEL SANCHEZ,                                 §
                                                 §
                   Plaintiff,                    §
                                                 §
vs.                                              §                 SA-18-CV-00184-XR
                                                 §
CITY OF SAN ANTONIO, BY AND                      §
THROUGH ITS AGENT, CITY PUBLIC                   §
SERVICE BOARD OF SAN ANTONIO,                    §
                                                 §
                   Defendant.                    §


                   ORDER ON MOTION FOR SUMMARY JUDGMENT


       On this date, the Court considered Defendant’s motion for summary judgment on

Plaintiff’s claims under the Family and Medical Leave Act (“FMLA”) and the Americans with

Disabilities Act (“ADA”) (docket no. 39). In response, Plaintiff has waived his FMLA retaliation

claim and focuses solely on the ADA discrimination claim. In that claim, Plaintiff contends that

Defendant’s assertion that he was terminated from his job for safety violations is pretext, and that

he was discriminated against because he has PTSD. After careful consideration, the Court grants

summary judgment.

                                           Background

       Plaintiff Gabriel Sanchez’s First Amended Complaint (docket no. 14) is the live pleading.

Therein, Plaintiff asserts claims for disability discrimination and FMLA retaliation. Plaintiff

alleges that he began working for CPS Energy in 2000 and was ultimately promoted to

Journeyman Cable Splicer in February 2014. Plaintiff’s direct supervisor was Mike Michalek,

and his next level manager was Richard Lujan, who was supervised by David Luschen.



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         Shortly thereafter, in March 2014, he was injured on the job when he was directed to

check a wire for voltage by spiking the cable. The cable turned out to be a high voltage cable,

causing a flash and severely injuring Plaintiff. Plaintiff was not written up or disciplined for the

incident. Though Lauro Garza (Labor Relations) recommended that Plaintiff be given corrective

action, he was voted down by others in the collaborative decisionmaking process. Garza depo. at

48. Plaintiff was out on medical leave from March 27 to May 5, 2014 as a result of his injuries.

Plaintiff returned to work on light duty status from May 6 to August 7, 2014. He started to notice

that he was becoming more fearful at work, especially when in situations where he had to cut

wires.

         In 2014, Plaintiff received a 2.45/3.0 rating from his direct supervisor Mike Michalek and

his manager, Richard Lujan, which translated to “highly valued” per CPS’s performance review.

Michalek and Lujan each indicated that Plaintiff “work[ed] very safe” in the December 2014

performance review. Pl. Ex. 5. Plaintiff was given 2/3 stars for safety. Id.

         In February 2015, Fred Bonewell was hired as the Senior Director of Enterprise Safety.

Bonewell depo. at 9. Defendant contends that Bonewell introduced his “actively caring” safety

philosophy to CPS in March 2015. He described the philosophy as making sure that employees

feel comfortable about their work and who is working with them, and that safety is part of that.

Bonewell depo. at 19. He defined the “core” of “actively caring” as “a process of behavior based

safety that establishes awareness with employees that they are in control of their safety; that they

have the right to refuse to do work if they feel that the work is unsafe; and that they have the

ability to provide input on how a work method or a task should be performed to ensure the safety

of that work task. It also provides awareness that it’s important to provide supervision to the task

being performed.” Bonewell depo. at 30.



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         On March 12, 2015, Plaintiff left a propane burner on and unattended at a job site, which

caused the pot to boil over and start a fire, burning part of a nearby privacy fence. Plaintiff

reported it immediately by phone to his manager, Lujan. Plaintiff depo. at 192-194. Lujan and

Luschen visited the site, and Plaintiff explained what had happened. Id. at 194-95. Plaintiff stated

that they were shorthanded, and he decided to leave the pot, which was not overheated at the

time, to assist the apprentices in the manhole because they were asking for help. Id. at 195.

Plaintiff admitted that it was his responsibility to monitor the pot. Id. at 196. However, he felt it

was more important as a safety issue to help the apprentices, who were working with hot lead.

He testified that he asked someone to watch it, but “he didn’t want to.” Id. at 197. A Safety

Event Notification was generated. Def. Ex. 17. Lujan drafted a Reminder 11 notice under the

CPS Corrective Action Policy the next day, March 13, and emailed it to Luschen and Veronica

Zuniga (HR Generalist) for their thoughts. Def. Ex. 21.

         Plaintiff alleges that there was a training meeting shortly after where the burner incident

was discussed. Plaintiff asserts that many journeymen had “burned a pot” and it was “normal,”

but others had not been written up. Plaintiff depo. at 199-204. He did not know whether those

other incidents involved personal injury or property damage. Id. at 206-207. Plaintiff also

complains that Lujan stated at the meeting that the incident would be used as a training exercise

and no one would be written up over it, but he was then given the Reminder 1. Id. at 204-205.




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  “The purpose of a Reminder 1 is to bring a problem, which may include minor performance related concerns, to
the employee’s attention in a positive but serious manner and to allow the employee the opportunity to give input for
developing effective solutions. A Reminder 1 is appropriate corrective action for: A violation of company standards
of conduct, policies, safety rules, practices, or performance deficiencies that are minor in nature, does not involve
honesty or trust, does not by itself constitute a threat to the operation of the business, and poses no threat to the
safety or well-being of employees. An infraction for which training and informal coaching have not been sufficient
to bring about change. A Reminder 1 shall be active for a period of six (6) months from the date the corrective
action is issued.” Def. Ex. 10 (Corrective Action Policy).

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         On May 1, 2015, Plaintiff received the Reminder 1 in person from Lujan. Def. Ex. 16.2

The Reminder 1 notice states it was for a non-major safety rule violation, and specifically notes

that Plaintiff violated the Rule stating that a burner shall never be left unattended. Plaintiff

alleges that Lujan told him that “upper management want me to write you up.” Plaintiff depo. at

208-209. Plaintiff did not understand why he was written up a month and a half after the fact, but

he did not file a grievance or discuss the Reminder 1 with anyone else and stated that he had no

choice but to sign it. Id. at 211. Plaintiff signed the Reminder 1 notice with no additional

comments. Plaintiff testified that, as of May 1, 2015, he had no knowledge of having been

diagnosed by any doctor with PTSD. Id. at 213-214.

         On May 1, 2015, Plaintiff cut his hand while operating a reciprocating saw. Plaintiff was

operating the saw with one hand, and holding the material to be cut in the other hand, and

testified that he had never been taught to use two hands when operating the saw. Plaintiff depo.

at 217. Plaintiff reported the injury to the other journeymen on the site, who had seniority. Id. at

218-19. He stated they were the “lead man” because the foreman was not there, and “[w]e just

put a Band-Aid on it, cleaned it up, no problem, kept working.” Id. at 219. He did not report it to

his supervisor.

         When Lujan met with Plaintiff to deliver the Reminder 1 for the burner incident that

same day, he noticed that Plaintiff had a band-aid on his hand. Lujan believed that Plaintiff was

trying to hide the band-aid/injury. Plaintiff admitted that he might have had his hand in his shirt

“to cover my hand a little bit, but I wasn’t hiding it.” Plaintiff depo. at 215-216. When Lujan

asked Plaintiff about it, Plaintiff replied “es nada.” Plaintiff went home, but Lujan then went to

Plaintiff’s truck and saw a bloody glove and realized the saw had cut through the work glove,


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 CPS employees testified that it was not unusual for it to take several weeks to issue a Reminder because it has to
go through an approval process with HR.

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which caused him to think the injury was more serious than Plaintiff had asserted. Plaintiff was

called and told to return to work to seek medical attention. Id. at 220. Plaintiff and Lujan went to

see a nurse, and then to a clinic, where they “put a Band-Aid on it.” Id. at 221. Plaintiff did not

think he did anything wrong with regard to this incident. Id. Although policy requires that

injuries be reported to a supervisor, Plaintiff was not disciplined because the policy requires a

worker to report the injury by the end of the work day, and Plaintiff had done so, though Lujan

did not feel Plaintiff did so in a forthcoming manner. CPS contends that Plaintiff’s admitted

improper use of the saw contributed to preparation of a performance improvement plan (“PIP”).

Plaintiff notes that he was not issued a corrective action for the event.

       On May 8, 2015, Plaintiff was involved in another incident. Plaintiff was “booming”

down in a bucket attached to a CPS Energy work vehicle when he brushed against a streetlight

secondary cable, causing an electrical arc. Plaintiff depo. at 224. He testified it was 2 or 3 in the

morning and dark and a little windy, and he was nervous and in a “very tight situation” with a

primary cable above his head and a secondary cable underneath the bucket. Id. He said it would

have been better to wait for daylight or until it was less windy, but it was an emergency situation.

Id. at 225-226. He also testified that he did not get warnings from his spotter. Id. at 226. No

personal injuries or property damages resulted.

       Plaintiff did not report the incident to Michalek or Lujan, which Defendant contends was

required. Plaintiff contends he immediately reported the incident to the more senior Journeyman

on-site (Randy Brooks), who was his “lead man,” and Brooks said he “would take care of”

Plaintiff’s report. Plaintiff depo. at 227. According to CPS, Brooks reported the incident the

following Monday, May 11. Plaintiff asserts that CPS’s assertion that Sanchez did not report the

event to Michalek is wrong because Michalek testified that he was informed about the event by



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Brooks “in the morning.” Michalek depo at 55. This answer does not necessarily mean the next

morning, however: “Q. Well, do you know for certain that it occurred in a day or days

afterwards? A. I know that he told me in the morning.” Michalek also testified that he thought it

was the next day, but that he did not recall what day it was. Plaintiff also contends that his

“report regarding the Bucket Event ultimately made its way to Richard Lujan and Mark

Michalek.” Docket no. 42-2 at 25. Further, Plaintiff notes that he was not issued a corrective

action for the event.

       At some point between May 1 and May 8, Lujan met with Bonewell at a breakfast

meeting to discuss Plaintiff’s safety violations. Bonewell depo. at 23-26. CPS contends this

meeting took place on May 6, between the saw and bucket incidents. Docket no. 39-1 at 10. But

Plaintiff asserts that Bonewell included the bucket event in the events discussed, meaning that

the meeting had to have taken place after the bucket event on May 8. CPS asserts that “[a]though

discharge was discussed as an option in their meeting as well as over the days that followed, PIP

was the option ultimately chosen.”

       On May 12, Lujan emailed Rick Maldonado, and cc’d Luschen and Michalek as follows:

               Subject: PIP Action Plan
               Rick,
               Below are our proposed recommendations for Randy Brooks and Gabriel
       Sanchez:
               Randy Brooks
               Issue a coaching memo outlining expectations and summarizing policies
       for reporting incidents.
               Gabriel Sanchez:
               1. Implement a Performance Improvement Plan (PIP) for Mr. Sanchez
       for a period of 6 Months.
               2. Foreman (or designee) to perform 4 weekly safety audits on Mr.
       Sanchez. Manager to complete 1 weekly audit.
               3. Document and track weekly 1-hour coaching sessions with Manager
       and Foreman.
               4. Remove Mr. Sanchez from all unsupervised maintenance activities
       over the duration of this PIP.

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               5. Provide training to address areas of needed improvement related to
       safety events and hazard identification (bucket truck operation, using power
       tools, hazard identifications, other safety related topics).
               6. Following successful completion of PIP involve Mr. Sanchez in
       ongoing UG Department safety teams and initiatives (Safety ambassador, Safety
       Day training, MEA training evaluation, lead JSAs, other).
               Please also see the work plan to develop the PIP attached.

Def. Ex. 27; Pl. Ex. 27 . The PIP would start May 26, 2015 and would remove Plaintiff from call

duty and require weekly tracking by Michalek. Id. The analysis section of the PIP states, “Mr.

Sanchez is demonstrating a pattern of unsafe behavior.” Id. The background section listed the

March 2014 flash incident, the March 12, 2015 burner incident, the May 1 saw/hand injury

incident, and the May 8 bucket incident. Id.

       On May 19, Veronica Uriegas emailed a Critical Issues Activity Report for the week

ending May 15 report to Lauro Garza, Zuniga, and others. It states,

       Underground–Gabriel Sanchez (Cable Splicer Trainee)–management has
       expressed concern regarding the Safety concerns that have recently developed
       with Sanchez. Sanchez received a Reminder for Safety and on the same day of
       issuance, Sanchez told his management that he had cut his finger with Zaw Zaw
       earlier in the day. Sanchez did not report the incident immediately but did so by
       end of shift. In addition, there was another incident that was considered operation
       (near miss) and Sanchez was involved in that incident as well. Management
       would like to place Sanchez on a PIP for 6 months and or TERM.

Veronica Zuniga testified that she wrote the summary, and that “management” referred to Lujan

and Luschen. Zuniga depo. at 171-172.

       On May 26, Veronica Uriegas emailed a Critical Issues Activity Report for the week

ending May 22. It repeats the language from the earlier report and then states,

       UPDATE management drafted the PIP for Zuniga’s review. Zuniga reviewed
       the PIP and asked management to elaborate on the expected changes.
       Management made changes and re-sent to Zuniga. Zuniga approved the changes
       and sent it back to management. Pending issuance.

Def. Ex. 28.


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        Plaintiff notes that a PIP is not corrective action under the Corrective Action Policy.

Plaintiff also contends that although Zuniga testified that a PIP is supposed to be reviewed by

HR, the proposed PIP was not submitted to HR. There is conflicting evidence, insofar as

evidence indicates that Zuniga saw and reviewed the PIP, but Zuniga testified at her deposition

that she did not recall receiving the PIP for review, asking management to elaborate, or

approving the changes. Zuniga depo. at 173-174.

        CPS contends that, in late May, before Lujan could finalize and issue the PIP, Plaintiff

reported to him that he was afraid, was having trouble concentrating, and felt he needed help.

Plaintiff does not assert a date for this conversation other than it was at some point prior to June

5, but agrees he told Lujan he was afraid, was having trouble concentrating on the job, and felt

something was wrong with him, but he did not know what. Plaintiff testified that Lujan said he

knew that Plaintiff had PTSD because his father, a police officer, had it and he “knew what that

was about.” Plaintiff testified that Lujan said that what had happened to Plaintiff (the March

2014 flash event) was “something bad” and “he would have been worse if it had happened to

him.” Lujan denies speaking with Plaintiff about his father or PTSD, but the Court must assume

that he did.

        Lujan told Luschen about Plaintiff’s expressed fear, and Luschen met with Bonewell,

Garza, and Lewis to discuss the issue and next steps. Bonewell depo. at 26-29. According to

CPS, Luschen and Garza still suggested the PIP, but Bonewell advocated his “actively caring”

safety philosophy, and a collective decision was made to employ an actively caring plan in place

of the previously contemplated PIP. Whether characterized as a PIP or an Actively Caring plan,

the contours of the plan are mostly undisputed.




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       It is undisputed that Plaintiff was mandated to attend six counseling sessions at third-

party provider Deer Oaks through CPS’s Employee Assistance Program (“EAP”). CPS’s

Corrective Action Policy includes a section on “Mandatory Referral to EAP.” It states that

management may mandate the employee to an EAP provider for assistance and support when an

employee’s performance may be negatively impacted by matters personal in nature that could

potentially improve with third party intervention. Def. Ex. 10. Plaintiff was also removed from

call duty (when employees are called in for emergencies) and placed under foreman supervision

while working. These latter two requirements are similar to what was contemplated in the PIP.

       There is conflicting testimony about who made what decisions and whether the proposed

PIP plan was implemented. Although Plaintiff apparently believed he was placed on a PIP for six

months and Bonewell testified that Plaintiff was placed on a PIP (though the components were

supervision, removal from call duty, and EAP), CPS says Plaintiff was not on a PIP but on an

“actively caring” plan. Bonewell testified that the EAP was mandated by HR, and he was only

responsible for the decision to impose supervision on Plaintiff as part of his actively caring plan.

Bonewell depo. at 38-42. But Zuniga testified that it was a management decision to send Plaintiff

to EAP, specifying Luschen, and stating the decision was “made also with Fred Bonewell.”

Zuniga depo. at 119-120.

       The referral prepared by Zuniga and signed by Michalek dated June 3 states

“Management Directive. Mr. Sanchez has been observed having difficulty focusing on his work

as a result of his last accident.” Lewis testified that she could not recall whose decision it was to

mandate EAP but the conclusion was reached at the meeting. Garza testified that he was not

involved in the decision to send Plaintiff to EAP. Nevertheless, as noted, there is general

agreement that, whether a PIP or “actively caring,” Plaintiff was to attend six counseling sessions



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(EAP) to provide support for him after he expressed fear of doing his job, and that safety

concerns were addressed by removing Plaintiff from call duty and requiring supervised work.

       On June 5, 2015, Plaintiff met with Bonewell, Garza, Lujan, Luschen, Michalek, and

Zuniga to discuss his placement on EAP, his removal from the call duty rotation, and the

requirement that his foreman supervise all his work. Plaintiff testified that they told him they

were going to work with him, and they were going to send him to get help at Deer Oaks. Plaintiff

depo. at 236-238. Plaintiff testified that he had no objection to being taken off call duty or having

to work under a supervisor. Id. at 241.

       The meeting agenda states that Bonewell and Garza would present/discuss the Actively

Caring and Safety Readiness program, and that Luschen would cover “EAP Referral.” Def. Ex.

30. Plaintiff attended six counseling sessions with Callie Davis-Carr between June and August

2015. Plaintiff depo. at 243-244. Plaintiff told Davis-Carr that he was excited about serving on a

new crew in the summer with younger co-workers who looked up to him. Id. at 245. Plaintiff

testified that he did work some over the summer without a supervisor watching him, and only

one foremen knew about his supervision requirement. He testified that he asked Lujan why all

the foreman had not been informed of the requirement so they could watch him, and he would

not have to tell them. Id. at 251-252, 261. During this conversation, he told Lujan he should be

removed from the supervision requirement. Id. at 261-62.

       According to an Executive Summary prepared by Defendant,

       Sanchez completed Deer Oaks sessions on the following dates: June 30, July 7,
       July 14, July 29, August 4 and August 12. On Thursday, September 17, 2015 at
       the end of the day, Sanchez had a discussion with Richard Lujan explaining that
       he was complete with his counseling sessions and felt confident that he
       was able to perform his duties effectively and ready to return to normal
       duty (call duty, work without constant supervision). Lujan told him that he
       would consider his request and discuss with his Director. Sanchez was off the



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           following day and returned to work on Monday, September 21 when the
           primary flash occurred.

Def. Ex. 31. Plaintiff does not recall having this conversation, though he does not deny that it

happened. Plaintiff depo. at 260-262.

           According to Defendant, after Plaintiff informed Lujan that he was done with his EAP

counseling sessions and wanted to be returned to call duty, Lujan discussed the issue with

Luschen, and CPS agreed to Plaintiff’s request. Bonewell confirmed that Plaintiff was released

to normal duty in September. Plaintiff believed he was on probation for six months. Plaintiff

depo. at 250, 260-261.

           There is some dispute about whether Plaintiff worked unsupervised on some occasions

over the summer, and about how much overtime he worked. There is no dispute that Plaintiff had

no safety incidents over the summer and that Plaintiff completed his counseling sessions (June

30 through August 12), though Plaintiff contends that no one at CPS followed up to see if

Plaintiff attended or if they were effective. And there is some dispute about the circumstances

under which Plaintiff was to work on September 21, 2015 (whether he was released to full duty).

           On September 21, 2015, Plaintiff caused another flash incident that severely injured him.

On that day, Plaintiff and his crew were to identify and cut cables in three designated manholes.

The foreman was Lonnie Rankin. David Breiten was the apprentice journeyman, and Oscar

Gonzales was a civil crew laborer. Plaintiff depo. at 263. The workers went through a Safety

Check List, and Plaintiff signed it. Id. at 263. They also reviewed a tailboard form with safety

reminders and required PPE, including hard hat, flame retardant garments, eye protection, rubber

gloves, work gloves, and foot protection. Id. at 265-266.3 Plaintiff marked the cables to be cut in




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    Def. Ex. 32 (Procedure Safety Checklist and Tailboard Meeting form for the job).

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all three manholes in red paint. He correctly cut the first two cables, but he cut the wrong cable

in the third manhole, causing a flash that severely burned him.

          Plaintiff contends that two utility workers were teasing him that morning, which caused

him to cut the wrong cable. Plaintiff depo. at 271-73. He testified that when he was coming out

of a manhole before cutting any cables, the utility workers “were on the fourth manhole that is

not mentioned, and they started making noises like an explosion. Going like that (indicating) to

me.” Id. at 272. He testified that they said “poof” and “Make sure you don’t cut the wrong cable

and blow up.” Id Plaintiff testified the he “went to Oscar Gonzales and I told him that these guys

didn’t know what was going on with me, that if I made a phone call they could get in trouble, to

tell them to stop. They [including Oscar Gonzales] laughed, and I left.” Id. He walked off and

did not report it to Rankin. Id. at 273. Plaintiff testified he was unaware if Rankin paid attention

or not.

          Plaintiff testified that while they were in the manholes to mark cables, David Breiten

asked why they had to sign a sheet to cut the cables, and Rankin said that, after Plaintiff’s

accident on March 14, 2014, that they had to sign those papers. Id. at 274. Plaintiff “started

thinking about” that too, and how “Pat Brown cut the wrong cable a few years back, which he

had marked also and – and cut the wrong one anyways. But that’s another deal. So I told David

that.” Id.

          Before cutting the first cable, Plaintiff signed the Safety Check List and handed it up to

Rankin at the top of the hole. Plaintiff was wearing all his PPE, and both Breiten and Rankin

were present. After he cut the first cable, he removed some of his PPE, including his face shield,

his suit, and primary gloves, thinking the cable was now dead in the other two holes. Plaintiff

depo. at 269-270. Thus, even though he would still be cutting two more cables, Plaintiff contends



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that he could remove his PPE because those cables would be dead. Plaintiff testified, “I’m

wearing what I need to wear.” Id. at 271.

          After he cut the first cable, Plaintiff alleges that Eloy Flores continued to harass him,

“talking and saying that to make sure I didn’t cut the wrong cable and – and to make sure I didn’t

blow up. And I was upset when he started say thing. I turned around and I told him that he didn’t

know what I was going through. . . And as I walked off, he told me to make sure I didn’t blow up

like last time. And I was upset. We went into the next manhole, and I told David [Breiten] that

the guys were messing with me, and I was – I was very upset. I was just thinking about my

previous accident. But I had to keep going to do my – whatever I had to do. And I came out the

second manhole and went on to the third manhole. . . . When I told David that the guys were

messing with me, he told me to – to you know, try to calm down and don’t listen to them.”

Plaintiff depo. at 275-76. Thus, Breiten accompanied Plaintiff to perform the second cut, but

Plaintiff did not verify whether Rankin was up top at the second cut. Plaintiff correctly cut the

cable in the second manhole.

          Plaintiff then went to the third manhole and cut the wrong cable in the third manhole,

causing a flash. Plaintiff did not wait for the apprentice Breiten or for the foreman to be present

before cutting the third cable. He did not verify that supervisor Rankin was in the area at the top

of the manhole, and Breiten was not with him. Plaintiff testified, “I didn’t look for Rankin. I was

upset. I was – I wasn’t thinking about Rankin. I wasn’t thinking about Breiten.” Plaintiff’s depo.

at 281.

          When asked why he didn’t “stop the job” as he was permitted and instructed to do if

something seemed unsafe, he said, “I wasn’t thinking about nothing else. I was thinking about

my previous accident.” Id. He also said, “I couldn’t stop,” and when asked why not, he said, “I



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don’t know. I don’t control that. I couldn’t stop. My – my mind as going everywhere.” Id. at 283.

He also testified that Rankin was supposed to be right behind him, and admitted that, “in the

perfect world,” he was supposed to wait for Rankin, but stated, “when they’ve been taunting you

and your head’s not straight, what can you do?” Id. at 285. When asked, “You can stop the job,

can’t you?” he answered, “If you’re not thinking about stopping the job, ma’am, you’re thinking

about doing your task and working, but you’re upset with what they’re telling you and your mind

is – is going different directions.” Id. He testified that he would have been fine if they had not

“been messing with me.” Id at 286. Thus, Plaintiff contends, he cut the wrong cable “as a result

of the harassment” and because Rankin did not properly supervise him insofar as he only

supervised Plaintiff from above on the first manhole, and not on the second or third. Docket no.

42-2 at 47-48.

        Plaintiff called Lujan immediately after the event and told Lujan he had cut the wrong

cable. Plaintiff depo. at 287; Lujan Decl. ¶ 11. He did not mention the teasing at that time.

Plaintiff was taken to the hospital for treatment, where in addition to treating his burns, Plaintiff

underwent a psychological evaluation and was diagnosed with PTSD.

        After the incident, all work at the site was stopped and all present were directed to

complete handwritten “eyewitness” statements.4 The employees were then interviewed

individually by Lujan and Labor Crew Manager Tony Gonzalez and witnessed by foreman

Jimmy Alonso.5 Lujan typed up the statements and the employees signed them. However, no one

reported teasing or harassment in their statements or during the interviews, including the two

4
 Def. Ex. 35: Lonnie Rankin (foreman) eyewitness statement (“normal work and practice prior to event”); David
Breiten (apprentice) eyewitness statement; Roderick Herring (trainee) eyewitness statement; Eloy Flores (utility
worker) eyewitness statement; Oscar Gonzales (truck driver) eyewitness statement; David Carvajal (cable installer)
eyewitness statement; Lorenzo Ortega (utility worker) eyewitness statement.

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 Def. Ex. 35: Interview notes: Jay Maddox, Dan Carvajal, David Gutierrez, Oscar Gonzales, Roderick Herring,
Eloy Flores, Lorenzo Ortega. David Breiten, Lonnie Rankin.

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utility workers and the supervisor that Plaintiff says he complained to, and including Breiten.

They reported nothing out of the ordinary with the crew or with Sanchez.

       Lujan visited Plaintiff in the hospital that evening, where Plaintiff told him of the

teasing/harassment at the job site and of his PTSD diagnosis. Plaintiff depo. at 288 (Plaintiff told

Lujan at 10:30 at night at BAMC). Plaintiff did not recall Lujan’s response. Id. at 289. Lujan

states he was upset by this information and immediately reported the information to Luschen by

phone. Lujan Decl. ¶ 14. The next day, Lujan and Tony Gonzalez interviewed the utility workers

identified by Plaintiff, including Eloy Flores, and his foreman Oscar Gonzalez, and both denied

that any teasing had occurred. Lujan did not obtain any additional written statements because

there was “nothing to add.” Lujan at 85-86; Lujan Decl. ¶ 15. Lujan reviewed the prior witness

statements and confirmed no one noticed anything suggesting Plaintiff was upset or had

mentioned any teasing. Lujan Decl. ¶ 15. Lujan reported to Luschen that Plaintiff’s allegations

were not substantiated. Lujan depo. at 100-101; Luschen depo. at 96-98. Plaintiff asserts that the

teasing falls within CPS Energy’s anti-harassment policy and that Lujan was required to report it

to the Employee Relations team, but there is no evidence that he did. Plaintiff also complains

about the different investigation quality into the event itself and the allegations of

teasing/harassment, and the lack of any documentation concerning the teasing investigation.

       On September 22, CPS issued a “Quality Assurance Event Investigation Form” signed by

Maldonado that included a section on “containment” (i.e., “what was done to ‘stop the harm’ and

prevent the event from spreading”) stating, “Effectively immediately, Foremen will physically

verify that all identification marks are made by the Journeyman prior to cutting any cable.

Foreman will stand on top of each manhole or vault prior to each cable cut and confirm that all

proper PPE is worn prior to cutting.” Def. Ex. 36; Pl. Ex. 32. Lujan testified he was not sure if



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the policy was new but “if it didn’t make it new, it reaffirmed the requirements.” Lujan depo. at

94-95. CPS contends that, during the investigation, it learned that it was not clear to all that the

foreman needed to verify physically the correct cables were identified and remain on top of the

manhole when a cut was performed, and thus Maldonado “reiterated and mandated the process to

be followed going forward.” A Safety Event Notification was also generated by Lujan, R. Wolff,

and others that listed the “behavioral cause” as “eyes on task.” Def. Ex. 33.

       On September 26, 2015, Dr. Hernandez at Texas MedClinic saw Plaintiff for an initial

visit as his treating physician and filled out a Work Status Report releasing Plaintiff to work from

September 26, 2015 to October 9, 2015, with the restrictions of no work in extreme hot or cold

environments, no work on heights/scaffolding, limit work to a climate-controlled environment,

and no direct handling of high voltage items until further notice. Def. Ex. 38, 39. The “work

injury diagnosis” states burn, corneal abrasion, arc flash, PTSD. Id. It also noted a referral to

“[opth]almologist and Psych.” Id. The leave department (Lisa Jarzombek) sent the following

email, “Received DWC-73 on Gabriel Sanchez. He has been placed on light duty status effective

9/25/15 through 10/9/15. His next follow up appointment is scheduled for 10/9/15. He has

several referrals pending.” Def. Ex. 39. James Williams, PAC, from the burn clinic also prepared

a Work Status Report on September 26, releasing Plaintiff to work from September 26, 2015

through September 26, 2016 with the following restrictions: “must have ophthalmology,

behavioral medicine clearance – must wear SPF 50 sun block x at least 1 year.” Def. Ex. 40.

       On September 28, Defendant began preparing a light duty accommodation to

accommodate the restrictions on hot/cold environments and no heights/scaffolding (“Gabriel will

go to Green Mountain to work . . . on light duty.”). Def. Ex. 39. Plaintiff was given a Bona Fide

Offer of Employment for light duty in scheduling/administration at Green Mountain at the same



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pay. The offer included the following language: “Description of modifications of this

assignment: May not work in extreme hot/cold environments, at heights or on scaffolding, limit

work to a climate controlled environment, and no direct handling of high voltage items until

further notice.” Def. Ex. 39.

         However, Defendant asserts that it learned after a conversation with Plaintiff that two

other physicians (the ophthalmologist and psychologist) had not released Plaintiff to work, so

Plaintiff continued to remain out of work on FMLA leave. Docket no. 39 App’x A at 20; Def.

Ex. 40. On December 14, 2015, Plaintiff was notified that he had exhausted his job protected

leave under the FMLA, state leave laws, and/or company leave policies. Def. Ex. 41. The letter

instructed Plaintiff to contact CPS Energy Leave Administration as soon as possible to discuss

his return to work date or to discuss options if he was not able to return to work at that time.

However, as of December 14, Plaintiff was told, “you will no longer have a job protected leave

of absence.” Plaintiff was still unable to return to work, so he remained out on medical leave

pursuant to Defendant’s medical leave policy, which provided up to 13 months of cumulative

leave.

         Plaintiff was given a score of 1.9/3.0 on his December 2015 performance review.

Although this score placed him in the “highly valued” category, there are only three categories,

and any score lower than 1.75 was the bottom category of “less effective.” Pl. Ex. 6.6 Plaintiff

was given 1/3 stars (“less effective”) for safety. Id. Plaintiff’s direct supervisor Mike Michalek

wrote the following comment, “Gabriel displayed unsafe acts or created unsafe conditions where

actions contributed to an injury or preventable accident/incident; or demonstrated a pattern of

unsafe acts resulting in injury, damage or harm to themselves, peers or the public.” Id.

6
 The ranges were: 2.70 to 3.00 - Top Performer; 1.75 to 2.69 - Highly Valued; 1.00 to 1.74 - Less Effective.
A PIP was required if the overall score fell in the “less effective” range. Pl. Ex. 6.


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        On January 25, 2016, Dr. Hernandez prepared a Work Status Report stating that

Plaintiff’s PTSD prevented him from returning to work as of that date and was expected to

continue until March 7, 2016. Def. Ex. 44. Plaintiff was scheduled for re-evaluation on March 7.

On January 26, Lisa Jarzombek of the leave department emailed Lujan, Michalek, Zuniga, Amy

Navarro (Manager, Integrated Absence Management) and others, “Received DWC-73 on Gabriel

Sanchez. He remains off work through 3/7/2016. His next follow up visit is scheduled for

3/7/2016.” Pl. Ex. 38. The Work Status Report was attached to the email. Lujan forwarded it to

Zuniga stating, “FYI. See Part 2 in the section stating what prevents him from returning to

work,” referring to the note that PTSD prevented Plaintiff from returning to work. Id. Amy

Navarro, the Manager of Integrated Absence Management, wrote, “Which Dr. is this keeping

him off work? I thought he was released by all Dr. except the psychiatrist?” Id. Jarzombek

responded, “His treating doctor at the Texas MedClinic. He is relating placing him off work due

to PTSD.” Id.

        In February 2016,7 Plaintiff spoke with Zuniga in HR on the phone and discussed

returning to work. Plaintiff depo. at 296. Plaintiff testified that he told Zuniga that his “therapy

doctor” (Dr. McMains) wanted him to go back to work to see how he would do. Id. at 296-98.

Plaintiff testified that this was the first time that Dr. McMains felt that he was ready to go back to

work in some capacity, and that he was to go back as a journeyman without restrictions. Id. at

297-298. Zuniga testified that Plaintiff informed her he would be returning to work soon, but did

not say how soon or give a date. Zuniga depo. at 154. Zuniga testified that Plaintiff “shared that

he didn’t feel he would be able to return to his regular duties.” Id. at 154-155. Zuniga testified

that Plaintiff told her one of his doctors recommended to him that he should go back to work,


7
  The EEOC charge and Complaint allege the conversation took place on or about February 18, but Zuniga’s notes
from the call are dated February 1.

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and she also testified that he said he still had a doctor’s visit. Id. at 157. She testified that she

reported this to management, including Garza. Id. at 155-156.

          Plaintiff testified that Zuniga said that “everything was going to be okay, that my job was

there waiting for me.” Plaintiff depo. at 297. Zuniga denies saying this. Zuniga depo. at 158.

Zuniga testified that they did not discuss whether Plaintiff could perform his job with

accommodations. Id. at 155. Zuniga’s call notes include the following, “Touch bases. Am I

going to have a job? released to full duty in the next month or so”; “seek another position”;

“change jobs. doing better, more relaxed”; “phy[sician] – see me in another month”; “go back to

same job might have same reaction.” Def. Ex. 45; Zuniga depo. at 160-161. Zuniga testified that

she wrote down what Plaintiff was communicating to her. Zuniga depo. at 161. After hearing that

Plaintiff anticipated returning to work, CPS Energy began the process of determining what action

to take.8

          On February 15, Jarzombek wrote an email that Plaintiff had used 275 days of his 13-

month leave and would need his “9 month letter sent out.” Pl. Ex. 43. Thus, Plaintiff would

exhaust his leave under CPS Energy’s medical leave policy in another four months, in June

2016. 9




8
  Lisa Lewis testified that she heard from Lauro Garza that Plaintiff was intending to return from his leave,
specifically that Garza mentioned that Plaintiff was potentially going to return to work and they discussed the fact
that the September 2015 flash incident was still outstanding and “we had a conversation about having a discussion
with the Business Unit about next steps.” Lewis depo. at 40.

9
 CPS Energy acknowledges its policy to provide 13 months of medical leave, but notes this is cumulative, and thus
Plaintiff had only eight months remaining on this leave at the time of his September 21, 2015 flash incident. Thus,
CPS Energy states Plaintiff would have been out of medical leave (either as leave or modified duty) in May or June
2016.


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        On February 23, 2016, CPS senior leadership held a meeting, and Defendant contends

they made the decision to terminate Plaintiff at the meeting.10 Plaintiff asserts that Defendant has

provided conflicting evidence as to who made the decision to terminate Plaintiff. Docket no. 42

at 16. However, it appears clear that Paul Barham (Vice President of Energy Delivery Services),

Fred Bonewell (Vice President of Employee and Public Safety), Lisa Lewis (Vice President of

People and Culture), and Rick Maldonado (Senior Director of EDS Construction and

Maintenance) were present and were decisionmakers. The testimony is less clear whether Lauro

Garza or David Luschen attended the meeting, but the deposition testimony indicates that they

provided input into the termination decision.

        CPS Energy witnesses all testified that there was no mention made at the meeting about

Plaintiff’s PTSD diagnosis, his symptoms, or his referral to EAP. Bonewell depo. at 96, 107,

113; Lewis depo. at 26, 29-30; Garza depo. at 86, 140; Luschen depo. at 78, 82. Lewis,

Bonewell, and Garza also testified that they were unaware of the complaint of

teasing/harassment preceding the incident. At the end of the meeting, it was collaboratively

decided that discharge was warranted, though apparently the decisionmakers focused on different

incidents as bases for their decisions. Fred Bonewell and Lisa Lewis both testified that their

decision was based solely on Plaintiff’s behavior in relation to the September 21, 2015 event,

while Luschen and Garza testified that they based their decision on all of the 2015 incidents. No

testimony or affidavits have been provided from Barham or Maldonado. Luschen then put

together a termination letter.




10
  Defendant’s Exhibit 31 is an Action Plan for Sanchez regarding the plan for termination, and includes an
Executive Summary dated September 23, 2015 listing various safety events involving Plaintiff, including events in
2007 and 2008, the March 27, 2014 flash event, the March 12, 2015 event, the May 1, 2015 injury, the May 2015
bucket event, and the September 21, 2015 flash event. Def. Ex. 31. It is unclear what role this plan played in the
February 23 termination meeting.

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       Plaintiff was not released by Dr. Hernandez to return to work on March 7, although the

record does not indicate why. Plaintiff depo. at 299. There is no indication that Plaintiff

contacted anyone on March 7 about returning to work or that any updated Work Status Report

was prepared on March 7. Thus, on March 8, Plaintiff had not been released to work.

       Plaintiff’s employment was terminated on March 8, 2016 in a telephone call placed to

Plaintiff by Luschen, Lujan, Michalek, and two HR generalists. Luschen read the contents of the

termination letter. Plaintiff was mailed the letter, which stated he was being terminated because

his performance “exhibits a pattern of poor judgment, unsafe acts and behavior and

unwillingness to follow critical work instructions.” Def. Ex. 5. The letter further stated, “Despite

efforts to correct these issues, your conduct has resulted in serious harm to yourself and

substantial risk to others. You[r] unacceptable and continued disregard for safe work practices

behavior is a terminable offense under the Corrective Action Policy.” Id.

       Dr. Hernandez prepared another Work Status Report on March 21, 2015 after a visit that

day. Def. Ex. 47. It stated Plaintiff could return to work March 21, 2016 to May 23, 2016 with

the following restrictions: no work at heights or on scaffolding. Def. ex. 47.

       On March 22, Plaintiff filed a grievance with CPS related to his termination. Plaintiff

depo. at 319-320. He stated that he wanted his job back, but did not mention anything about

thinking he was terminated because he had PTSD. Plaintiff depo. at 320. Plaintiff did not agree

to have his medical information discussed at the grievance hearing. Plaintiff depo. at 320-321. It

appears that grievance remains pending or unresolved. It is unclear, but it appears that Plaintiff is

asserting that he was able to go back to work on March 21 with no accommodations other than

no heights or on scaffolding.




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       Dr. McMains was the psychologist treating Plaintiff at the Pain and Recovery Clinic of

San Antonio. His May 19, 2016 notes state that Plaintiff was evaluated October 13, 2015, with a

follow-up evaluation on January 7, 2016 and a final evaluation on May 19, 2016. In the history

of present illness, Dr. McMains reports that “[Plaintiff] doubts his ability to do his job.” In the

“current level of functioning” section, Dr. McMains wrote, “Mr. Sanchez reports having tried to

do electrical work since he completed therapy. He had to do it in association with his brother’s

business since his prior employer had let him go. He reported ‘getting very nervous and afraid

almost to the point of panic.’” Dr. McMains noted that Plaintiff’s “emotional status seemed to

have deteriorated after his on the job accident and improved after the first round of IPT

[individual psychotherapy] that included EMDR. However, after losing his job and trying to do

some routine electrical work, he appears to have again developed symptoms of depression and

anxiety.” He further noted that his “PSEQ score suggests depression and difficulty returning to

his original employment.” Testing results showed severe anxiety and depression on October 13,

2015, mild anxiety and moderate depression on January 7,2016, and severe anxiety and

depression on May 19, 2016.

       Last, in the “summary and recommendations,” Dr. McMains wrote, “Therapy appears to

have helped him deal with the anxiety associated with the trauma he experienced, initially. After

losing his job and trying some electrical work, he seems to have had a reoccurrence of symptoms

of anxiety and depression, even though he was on medication and had actively participated in

therapy. . . . Given the apparent reoccurrence of his symptoms, it is appropriate that he be

followed for treatment. In addition, a referral to DARS for a vocational evaluation and job

retraining is recommended. Being gainfully employed again is likely to relieve a good deal of

Mr. Sanchez’s depression and anxiety. As for his abilities to return to work, it is recommended



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that he return to full time employment but in a job that is not related to electrical work. The

anxiety he experiences when working on electrical jobs interferes with his ability to concentrate

on the job, making it difficult for him to work efficiently. However, he reports being able to do

other construction tasks like paining without anxiety.”

       Plaintiff had a follow-up visit with Dr. Hernandez, his treating physician on June 20,

2016. After the visit, Dr. Hernandez signed a Work Status Report releasing Plaintiff to return to

work as of June 20, 2016 through July 11, 2016, with the following restrictions: no work at

heights or on scaffolding and “no work with electricity.” Def. Reply Ex. 2.

       Plaintiff complains that a Root Cause Analysis was required but not conducted for the

September 2015 flash event. He notes that Luschen was instructed by his supervisor Maldonado

to start the RCA, and he secured the scene and took pictures, but was unaware as to why the

RCA did not occur. Docket no. 42-2 at 56-58. The record contains a July 1, 2016 letter from

Carolyn Shellman, Executive Vice President and General Counsel of CPS, which states, “CPS

did not perform a Root Cause Analysis on the September 21, 2016 incident. However, we

reviewed the facts surrounding the incident and provide the following assessment: The flash

would not have occurred in Gabriel Sanchez had followed CPS Energy’s procedures; and the

injuries sustained by Mr. Gabriel would have been minimal, if sustained at all, if he would have

worn the required protective gear.” Def. Ex. 49.

       Plaintiff filed a charge with the EEOC in January 2017, alleging a failure to

accommodate as it had for others injured on the job and discrimination and retaliation against

him because of his disability. Def. Ex. 50. In its position statement, CPS submitted the following

explanation for the termination: “Throughout the approximately twelve years Sanchez trained to

become a Cable Splicer, he received numerous detailed instructions and trainings on the



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protocols he was to follow in addition to the proper protective equipment to be worn. Despite

these trainings and CPS Energy’s efforts to assist Sanchez in performing his duties responsibly

and properly, Sanchez exhibited a pattern of poor judgment and unsafe behavior in 2015. He also

demonstrated an inability to follow critical work instructions and safe work practices. As a result

of multiple incidents that occurred in 2015, CPS Energy terminated Sanchez’s employment

under its Corrective Action Policy on March 8, 2016.” Pl. Ex. 14. It further stated that his

performance prior to 2015 was irrelevant, and “it was a series of incidents in 2015 that led to his

termination of employment.” Id. CPS noted the March 12, 2015 burner incident, the May 1 saw

incident (noting that Plaintiff attempted to hide the severity of the cut), the bucket incident, and

the September 21, 2015 incident. Id.

       Plaintiff alleges in Count One that Defendant CPS had knowledge of Plaintiff’s disability

(PTSD) and/or regarded Plaintiff as being disabled, and terminated his employment because of

his disability and/or Defendant’s perception of Plaintiff’s disability, in violation of the

ADA/ADAAA. Plaintiff alleges in Count Two that his PTSD was a serious health condition

under the FMLA for which he was entitled to medical leave, and that Defendant terminated his

employment for seeking designation and/or leave under the FMLA, and/or for the time he was

forced to take off work to care for his serious medical condition.

       Defendant moves for summary judgment on the following grounds: (1) Sanchez’s FMLA

claim fails because he admitted in his deposition that he did not believe his discharge was related

to his FMLA leave and he cannot establish pretext; (2) Sanchez fails to establish a prima facie

case of disability discrimination because he was not qualified for his position at the time of his

discharge; and (3) Sanchez cannot causally connect his March 2016 discharge to an actual or




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perceived disability or establish pretext. In his response, Plaintiff concedes his FMLA claim, and

thus only the second two issues related to the ADA claim remain.

                                 Summary Judgment Standard

       Summary judgment is proper when the evidence shows “that there is no genuine dispute

as to any material fact and the movant is entitled to judgement as a matter of law.” FED. R. CIV.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-52 (1986). A dispute of a material

fact is “genuine” if the evidence is such that a reasonable jury could return a verdict in favor of

the nonmoving party. Anderson, 477 U.S. at 248. Rule 56 “mandates the entry of summary

judgment, after adequate time for discovery and upon motion, against a party who fails . . . to

establish the existence of an element essential to that party’s case and on which that party will

bear the burden of proof at trial.” Curtis v. Anthony, 710 F.3d 587, 594 (5th Cir. 2013) (quoting

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

       The Court must draw reasonable inferences and construe evidence in favor of the

nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

Although the evidence is viewed in the light most favorable to the nonmoving party, a

nonmovant may not rely on “conclusory allegations, unsubstantiated assertions, or only a

scintilla of evidence” to create a genuine issue of material fact sufficient to survive summary

judgment. Freeman v. Tex. Dep’t of Criminal Justice, 369 F.3d 853, 860 (5th Cir. 2004). The

court “may not make credibility determinations or weigh evidence” in ruling on a motion for

summary judgment. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 120 (2000);

Anderson, 477 U.S. at 254-55.




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                           Disability Discrimination under the ADA

       Plaintiff asserts two claims under the ADA: (1) that he was discriminated against because

Defendant regarded him as disabled and (2) he was discriminated against because he was

actually disabled. Defendant contends that Plaintiff cannot satisfy his prima facie burden for

either claim because he was not qualified for his position at the time of his discharge and that

even if he establishes a prima facie case, he fails to causally connect his discharge to his actual

or perceived disability.

     A. Prima facie case

       In order to make out a prima facie showing under the McDonnell Douglas framework for

the claim that he was discriminated against because he was actually disabled or regarded as

disabled, Sanchez must show that: (1) he was actually disabled or he was regarded as disabled

(as described in 42 U.S.C. § 12102(3)); (2) he was qualified for the job; and (3) he was subject to

an adverse employment decision on account of the disability or perception of disability. Cannon

v. Jacobs Field Servs., N.A. Inc., 813 F.3d 586, 590 (5th Cir. 2016); 42 U.S.C. § 12102(1). CPS

Energy asserts that it does not dispute the first element for purposes of this motion because

Plaintiff’s PTSD may qualify him as actually disabled. Nor does it dispute that termination is an

adverse action under the ADA. CPS Energy challenges the second element of the prima facie

case – whether Sanchez was qualified for his job at the time of his termination.

       A plaintiff can establish that he is “qualified” by showing that “either (1) [he] could

perform the essential functions of the job in spite of [his] disability,” or “(2) that a reasonable

accommodation of [his] disability would have enabled [him] to perform the essential functions of

the job.” Moss v. Harris Cty. Constable Precinct One, 851 F.3d 413, 418 (5th Cir. 2017). “Time

off, whether paid or unpaid, can be a reasonable accommodation, but an employer is not required



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to provide a disabled employee with indefinite leave.” Id. Further, reassignment to a different

job may be a reasonable accommodation, but the plaintiff bears the burden of proving that an

available position exists that he was qualified for and could, with reasonable accommodations,

perform. Id.

         Plaintiff did not return to work in any capacity from September 21, 2015 through the date

of his termination on March 8, 2016. Plaintiff depo. at 293. Plaintiff testified that he did not ever

speak to anyone with CPS Energy about needing more time out of work, other than a

conversation in December 2015 with Jose Castaneda (a nurse), who said “don’t worry about it”

during a visit to Plaintiff’s home. Plaintiff depo. at 303. However, it appears undisputed that

Plaintiff was being given medical leave under CPS Energy’s medical leave policy, and that

would not expire until May or June 2016. Pl Ex. 42, 43.11 Plaintiff also testified that he did not

speak with anyone about needing to change any of his job duties or some sort of accommodation

in order to return to work. Plaintiff depo. at 304-305.

         CPS contends that Sanchez was not qualified since he was not released to return to work

on March 8 and other evidence indicates that he would not have been able to return to full duty,

and he requested no light duty accommodations. In its motion, CPS points to the following: (1)

Plaintiff was not released to work in any capacity on March 8, the day of his termination; and (2)

Plaintiff’s treating psychologist Dr. McMains’ May 19, 2016 medical evaluation states that “it is




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   That policy states, “CPS energy may allow up to 13 cumulative months of medical leave due to an employee’s
medically verifiable on or off-the-job injury or illness.” Pl. Ex. 42. Further, “Medical leave will run concurrently
with any other applicable leaves of absence so that the maximum duration of absence available from CPS Energy
due to an employee’s injury or illness will be 13 cumulative months within 36 months beginning with the initial date
of the medical leave.” Id. The policy also states that CPS will review requests for extensions of leave to determine if
such should be granted as a reasonable accommodation under the ADA, but that requests that “pose an undue
hardship or are indefinite in nature generally will not be granted” and that “[a]n employee unable to return to work
with or without a reasonable accommodation will be separated from employment.” Id.


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recommended that [Sanchez] return to full time employment but in a job that is not related to

electrical work.” Def. Ex. 48 at 4.

         Plaintiff contends that there is no evidence that rendered him medically incapable of

performing his job duties on March 8, 2016, and instead: (1) Plaintiff testified at this deposition

in November 2018 that he is fully capable of performing work as a cable splicer, that his PTSD

does not affect his ability to work as a cable splicer, and that his PTSD does not affect his ability

to work in any way. Sanchez depo. at 84-85.12 (2) Dr. McMains’ “recommendation” was only a

recommendation, and did not render him incapable of performing his duties, and it was issued

three months after the decision to terminate and two months after Sanchez was notified of his

termination; (3) although he exhausted his FMLA leave, he was well within the 13-month leave

afforded him under CPS Energy’s medical leave policy; and (4) CPS was aware that Sanchez

was set to return to work after March 7, the day before his termination, and thus his leave was

not indefinite.

         Plaintiff further contends that the evidence demonstrates that he was a well-qualified

Journeyman Cable Splicer and that he received a rating of “highly valued” on his 2015

performance appraisal despite his alleged poor judgment during that time. However, as noted, his

overall score was close to the bottom level of “less effective,” which would have required a PIP,

and his safety score was “less effective.” Further, the fact that a plaintiff has held a job for a long

period of time or was qualified at an earlier point in time does not establish qualification for




12
  Plaintiff testified at his deposition that he does not consider himself disabled now but that the doctors say he is,
and he still goes to the doctor for medicine. Plaintiff depo. at 112-113. He states that medication helps a lot to
control his symptoms. Plaintiff depo. at 113.


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purposes of the ADA claim; the question is whether he was qualified at the time of his

termination. Moss, 851 F.3d at 418. 13

           Although Plaintiff has not articulately argued that he needed or was denied a reasonable

accommodation, he did assert a failure to accommodate in his EEOC charge, and it appears that

he contends that he should have been granted additional leave until he received medical

clearance.14 He notes that CPS Energy believed that Plaintiff intended to return to work soon at

the time of his termination on March 8, 2016. He also asserts that the March 21, 2016 Work

Status Report stating he would be allowed to return to work on March 21 is evidence that he was

qualified to work on the date of his termination and his leave was not indefinite, whether it was

set to end on March 7, 2016 or March 21, 2016. Defendant replies that there is no evidence that

Plaintiff could return to work as of March 8, 2016 with a reasonable accommodation, be it

through additional leave, modified duty, or placement in another job, and the available medical

evidence indicates that Plaintiff could not have returned to work given the restrictions on

working with electricity. The Court agrees with Defendant.

           Plaintiff must show that, at the time of his termination, he could perform the essential

functions of his job or that a reasonable accommodation of his disability would have enabled him

to perform the essential functions of the job. Moss, 851 F.3d at 417.15 There is no dispute that


13
   Plaintiff also notes that, on May 28, 2015, he received a letter from CPS stating, “On behalf of CPS Energy, I
want to express my tremendous gratitude to you for the endless hours of service you dedicated restoring power
during the Memorial Day weekend storms. While taking time away from your family is always difficult, your
commitment to our community is unparalleled and to be admired. Your dedication has not gone without notice, and
we truly belief that you have played an integral role in the success of CPS Energy.” Pl. Ex. 9. It further stated,
“Please accept our thanks and gratitude for being such a valuable employee.” Id. Plaintiff also notes that he received
two pay increases during his time as a Journeyman Cable Splicer. However, this evidence is not particularly relevant
to whether Plaintiff was qualified at the time of his termination in March 2016.

14
     There is no mention of failure to accommodate in Plaintiff’s Complaint.

15
  The evidence is that Plaintiff intended to return to his job as Journeyman Cable Splicer. Plaintiff does not argue or
provide evidence that he requested any reasonable accommodations to be able to return to that job or another job at
CPS.

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working with electricity is an essential function of Plaintiff’s job as Journeyman Cable Splicer.

Plaintiff had not been released to return to work on March 8, and thus must show that CPS failed

to reasonably accommodate him. Because he requested no specific job accommodation, the only

possible accommodation at issue here is continued leave until he was medically cleared to return

to his job as Journeyman Cable Splicer.

       Plaintiff contends that he intended to return to full duty work, but he does not show any

work release to that effect, and there is no indication he informed anyone at CPS that he would

actually be reporting back to work on March 8 or any other specific date. The March 21, 2016

work release from Dr. Hernandez still requires no heights/scaffolding, and Plaintiff has not

shown that he could perform his job with these limitations or as a reasonable accommodation.

Even assuming so, however, Plaintiff has not shown that Dr. Hernandez’s March 21, 2015 work

release is the “behavior medicine clearance” that was required for him to return to work before

September 2016. Plaintiff’s testimony is that Dr. McMains intended to release him to full duty to

see how he would do, but there is no evidence that Dr. McMains ever did so. The only evidence

is that, in May 2016, Dr. McMains recommended that Plaintiff return to full time work, but not

with electricity. His report indicates that Plaintiff doubted his ability to do his job and states that

when Plaintiff attempted to “do electrical work . . . in association with his brother’s business,” he

“reported ‘getting very nervous and afraid almost to the point of panic.’” Dr. McMains noted that

his “PSEQ score suggests depression and difficulty returning to his original employment.”

       Further, Dr. Hernandez also issued a Work Status Report in June stating “no work with

electricity.” Thus, the medical evidence indicates that Plaintiff was not qualified to perform the

duties of his Cable Splicer job. See Reed v. Petroleum Helicopters, Inc., 218 F.3d 477, 480 (5th

Cir. 2000) (plaintiff not qualified where medical evidence showed she was medically unable to



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perform the duties of her job on June 2, the day she was terminated, and no such inference was

allowable given that her physician also stated that she could not work on June 14, June 20, and

July 5).

        Plaintiff has not shown a release to full duty in March 2016 or thereafter, and even if CPS

Energy was required to maintain Plaintiff on medical leave through June 2016 or thereafter,

Plaintiff has not shown that he would have been capable of returning to full duty at that time.16

The Court thus finds that the evidence conclusively shows that Plaintiff was not fully released to

work to his former position as Journeyman Cable Splicer on March 8, 2016, and Plaintiff has

failed to raise a fact issue as to whether he would have been able to return to his job at some

definite time if given further leave as an accommodation.

      B. Pretext/Causation

        Even if Plaintiff has raised a fact issue as to whether he was qualified, the Court finds that

he has failed to produce evidence that, taken as a whole, creates a fact issue as to whether he was

terminated because of his actual or perceived disability.

        If the plaintiff successfully establishes a prima facie case, the burden shifts to the

employer to produce evidence that the adverse employment action was taken for a legitimate,

nondiscriminatory reason. Cannon, 813 F.3d at 590. If the employer meets this burden, then the

burden shifts back to the plaintiff to establish that the reason provided by the employer is a

pretext for discrimination. Id. In the summary-judgment context, the question is not whether the

plaintiff proves pretext, but whether the plaintiff raises a genuine issue of fact regarding pretext.

Caldwell v. KHOU-TV, 850 F.3d 237, 242 (5th Cir. 2017). To overcome a legitimate,

nondiscriminatory reason for termination, the plaintiff must show something beyond

16
  The Court notes that Plaintiff’s damages expert Coffey has not included electrical work as possible work for
Plaintiff because Plaintiff is no longer “interested” in such work because of his fear of working around electricity
and due to Dr. McMains’ recommendation.

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disagreement with the employer’s decision. Wittmer v. Phillips 66 Co., 915 F.3d 328, 332 (5th

Cir. 2019).

         Pretext may be established through evidence of disparate treatment or by showing that

the employer’s proffered explanation is false or unworthy of credence. Plaintiff does not provide

any evidence of disparate treatment, so he must show that the proffered explanation for his

termination is false or unworthy of credence. Outley v. Luke & Assocs., Inc., 840 F.3d 212, 218

(5th Cir. 2016). Further, to carry his burden of showing pretext, Plaintiff must rebut each

nondiscriminatory reason articulated by the employer. McCoy v. City of Shreveport, 492 F.3d

551, 557 (5th Cir. 2007). A plaintiff’s prima facie case, combined with sufficient evidence to

find that the employer’s asserted justification is false, may permit the trier of fact to conclude

that the employer unlawfully discriminated, even without further evidence of defendant’s true

motive. Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 148 (2000); Laxton v. Gap Inc.,

333 F.3d 572, 578 (5th Cir. 2003). The Fifth Circuit applies a “motivating factor” test, which

provides that discrimination need not be the sole reason for the adverse employment decision, so

long as it actually plays a role in the employer’s decision making and has a determinative

influence on the outcome. Delaval v. PTech Drilling Tubulars, LLC, 824 F.3d 46, 480 (5th Cir.

2016).

         As noted, Defendant’s asserted legitimate, nondiscriminatory reason for Plaintiff’s

termination is that he was discharged because of his “pattern of safety violations that exhibited

poor judgment and a continued failure to follow critical work instructions.” Docket no. 39 at 11.

Plaintiff attempts to show pretext and causation by showing inconsistencies in Defendant’s

asserted reason and by showing that Defendant failed to follow its established policies. Plaintiff

disputes the validity of the assertion that a “pattern” of violations existed and that it was the



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actual basis for Defendant’s decision because deposition testimony shows that the decision to

terminate was based on only the September 2015 flash incident. Plaintiff further asserts that

“Actively Caring” is not an actual CPS policy, that no one but Plaintiff had been put on

“Actively Caring,” and that this was done after Defendant learned that Plaintiff suffered from the

symptoms of PTSD (fear). Plaintiff also contends that the decisionmakers either knew of

Plaintiff’s expressed fear or of his PTSD and discussed PTSD with regard to Plaintiff’s viability

to work during the February 23 meeting at which the termination decision was made, citing the

testimony of Fred Bonewell that he learned about PTSD from Lauro Garza during a

“collaborative meeting with respect to determining Mr. Sanchez’s viability to work at CPS” at

which “Garza explained to [Bonewell] what PTSD is.” Bonewell depo. at 67.

       Plaintiff further attempts to cast doubt on Defendant’s proffered justification by pointing

out conflicting testimony about who were the final decisionmakers and/or had input into the

termination decision, conflicting testimony about who attended the February 23, 2016 meeting at

which the termination decision was made, Lujan and Luschen’s alleged failure to report

Plaintiff’s allegation of harassment/teasing on September 21, 2015 to HR and the lack of

documentation of Lujan’s investigation into the allegation, the failure to create a Safety Event

Notification for the May 1 and May 8 incidents, and the failure to conduct a Root Cause Analysis

of the September 21, 2015 event.

       Plaintiff asserts that he may establish pretext by showing that Defendant has provided

inconsistent or conflicting explanations for its conduct, or by showing “such weaknesses,

implausibilities, inconsistencies, incoherencies, or contradictions” in Defendant’s proffered

reasons such that a reasonable factfinder could find them unworthy or credence. Docket no. 42

(citing Wojciechowski v. Nat’l Oilwell Varco, L.P., 763 F. Supp. 2d 832, 859 (S.D. Tex. 2011)



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and Nasti v. CIBA Specialty Chem. Corp., 492 F.3d 589, 594 (5th Cir. 2007)). Plaintiff contends

that the assertion that Plaintiff was terminated because of a pattern of unsafe acts and failure to

follow critical work instructions is untrue because “the decision to terminate was based on only

one (1) safety event.” Docket no. 42 at 14. Plaintiff also asserts that Defendant has been

inconsistent about who the actual decisionmakers were in the termination decision.

       In its motion, Defendant asserts that four individuals were “decisionmakers” -- Paul

Barham, Fred Bonewell, Lisa Lewis, and Rick Maldonado – and that David Luschen and Lauro

Garza were recommenders. However, Plaintiff notes that Defendant’s interrogatory response

listed all six individuals as “the final decision maker(s) in the decision for Defendant to terminate

Plaintiff’s employment.” Pl. Ex. 35. Defendant’s motion further asserts that “the key senior

leadership decision-makers met” on February 23, and they were Barham, Bonewell, Lewis, and

Maldonado. The motion asserts that “CPS Energy’s in-house counsel also attended this meeting

to provide legal consultation as necessary” and “the two individuals recommending the type of

action to be taken, Luschen and Director of Labor & Employee Relations Garza, attended as

well.” Docket no. 39-1 at 22.

       Plaintiff notes that there is confusing testimony as to Lauro Garza. Plaintiff takes issue

with Garza being changed from a decisionmaker to a recommender and contends that Lisa Lewis

has provided inconsistent testimony because she testified at her deposition that she did not

consider Garza a decisionmaker. However, while Lewis initially did not list Garza as a

decisionmaker when asked to list the decisionmakers, she then later recalled that he was present

at the February 23 meeting, stating “that’s probably why I didn’t mention Lauro [when listing the

decisionmakers]. I don’t consider Lauro as having been a decision-maker.” Lewis depo. at 25.

When asked why not, she replied, “Lauro’s role and that team’s role is to make



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recommendations. The decision making falls to the business area and the leaders.” Id. at 25-26.

Thus, her testimony is consistent with Defendant’s position that Garza was a recommender but

not an ultimate decisionmaker. Plaintiff also notes that Bonewell did not include Garza as an

attendee, and Garza does not recall a meeting in February 2016. But Plaintiff fails to show how

this conflicting evidence create material issues of fact with regard to causation.

        Lewis also states in her Declaration that she did not recall during her deposition, but has

confirmed since, that Maldonado also participated in the decision. Def. Ex. 11. Plaintiff notes

that Bonewell did not list Maldonado as an attendee. But Maldonado’s role and any factual

disputes about his attendance do not create a material issue of fact. 17

        As to Luschen, he testified that he was aware that he had been identified as a

decisionmaker, but explained his role as giving his input “up the chain of command.” Luschen

depo. at 16, 18. He did not recall attending a meeting with the “C-Suite” decisionmakers.

Luschen depo. at 18. But it appears clear that he provided input to those designated by CPS as

final decisionmakers, recommending termination, based in part on his discussions with Lujan.

He stated, “Me and Mr. Lujan discuss that and then we discuss that with HR and also discuss that

with my boss [Maldonado] and he proceeded to discuss a discussion to upper management.”

Luschen depo. at 19.

        Thus, Plaintiff is correct that there is inconsistent testimony about who attended the

February 23 meeting and who served as “final” decisionmakers versus who had recommender

roles. But these inconsistencies do not ultimately create a material issue of fact or establish a fact


17
   The evidence is consistent that Lisa Lewis and Fred Bonewell were at the February 23 meeting and were
decisionmakers. No deposition testimony from Paul Barham has been presented. Fred Bonewell testified that, at the
meeting, “Mr. Barham supported Mr. Luschen and Mr. Lujan and what had been determined as the principal factors
associated with what led to the accident and subsequent injury that Mr. Sanchez sustained, specifically the cutting
into the hot cable which should have never occurred and not wearing the personal protective equipment that was
afforded to him that would have mitigated, reduced, or have eliminated the possibility of an injury from that flash
event.” Bonewell depo. at 94.

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issue on pretext because they do not tend to establish the falsity of CPS’s legitimate,

nondiscriminatory reason for discharging Plaintiff. CPS Energy engages in collaborative

decisionmaking, and individuals being deposed in 2018 may not recall the specific attendance or

roles of individuals at a meeting more than two years before. The Court will presume that each of

the six identified individuals played a role as direct recommenders or decisionmakers in CPS

Energy’s decision to terminate Plaintiff.

       Plaintiff also emphasizes the fact that Defendant has cited a “pattern” of safety violations

as the basis for his termination, but some alleged decisionmakers stated that the decision was

based solely on Plaintiff’s behavior in relation to the September 21, 2015 flash event. Plaintiff

cites the testimony of Fred Bonewell that (1) only the September 21, 2015 flash event was

discussed during the February 23 termination meeting; (2) Plaintiff’s corrective action history

was not discussed during the meeting; and (3) Plaintiff’s safety history was not discussed.

       Plaintiff also cites the testimony of Lisa Lewis that (1) she did not recall any other event

beside the September 21, 2015 event being discussed during the meeting; (2) she made her

decision from conduct that arose from the September 21, 2015 event; (3) Plaintiff’s Corrective

Action history was not discussed during the meeting and did not play a part in her decision; (4)

she did not remember Plaintiff’s safety history being discussed; (5) there was no discussion of

the Actively Caring plan; (6) there were no documents to review at the meeting; and (7)

Plaintiff’s performance appraisals were not discussed and she had never seen them. Lewis depo.

at 24-30.

       In contrast, Luschen testified that his decision that termination was appropriate was based

on all of the safety incidents occurring in 2015. Luschen testified that the 2015 events – the

unattended burner, the saw/cut incident, and the bucket incident – went into his decision, but not



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the March 2014 flash incident. He testified that the September 2015 flash event “was major” and

“was a critical event that had the major weight in the decision to terminate.” Luschen depo. at 39

Luschen drafted the March 8, 2016 termination letter, which then listed the pattern of poor

judgment and unwillingness to follow critical work instructions as the reason for termination.

Luschen depo. at 103-104. Lauro Garza testified that all the 2015 safety events and the March

2014 flash event went into his decision, although he felt that “pattern” of events did not start

until the second event. Garza depo. at 63, 99, 179.

       While it is true that certain decisionmakers testified that only the September 21 incident

was discussed and formed the basis for the termination decision, while CPS has taken the

position that it was a pattern of incidents, this does not establish the necessary pretext. Again,

CPS Energy made a collaborative decision, and thus some of the decisionmakers and

recommenders may have focused solely on the September 2015 event, while others may have

considered more incidents. In such an instance, CPS’s position that it was a pattern of events or

behavior is not untrue.

       Moreover, Defendant’s proffered reason is consistent with Luschen’s testimony

essentially characterizing the September 21, 2015 incident as the “final straw.” In its motion for

summary judgment, Defendant notes that Plaintiff was not terminated for the prior violations,

although some decisionmakers contemplated it, but “[i]n the final analysis, it was only the

September 2015 violation, in combination with Sanchez’s safety history preceding his EAP

counseling, that led CPS Energy’s senior leadership to end his employment.” Docket no. 39 at

11. Defendant further asserts, “Certainly, such a serious safety violation would motivate any

reasonable employer to terminate employment, especially when the employer considered

termination a few months before based on three other safety violations.” Id. at 11 n.9. Either a



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pattern of poor judgment or a serious safety violation, or some combination of both, could be

legitimate, nondiscriminatory reasons for termination.

       Even if Plaintiff is correct that only the September 21, 2015 incident formed a basis for

his termination, he must show that it was not the true reason for his termination, and that

discrimination based on his PTSD was a reason. Defendant’s witnesses have consistently

testified that Plaintiff was terminated for serious safety violations in connection with the

September 21, 2015 flash incident, specifically the fact that he cut into the wrong, live cable and

was not wearing the proper PPE. Bonewell stated that they came to the conclusion that it was not

in the best interest of CPS for Plaintiff to return because of “his behavior that occurred on that

event where he marked the cables in a certain manner and then went against his own marking

and cut into the hot cable. And further to that, he was not wearing all of his personal protective

equipment which he was provided.” Bonewell depo. at 85; see also id. at 95 (confirming that the

factors discussed at the termination meeting were that Plaintiff cut into a live cable and was not

wearing the proper PPE, and no other factors were discussed).

       Luschen testified, “when an individual goes down and cuts the wrong cable that was

clearly marked red and he cut the wrong one without the PPE . . . that is totally unsafe.” Luschen

depo. at 21. Luschen further stated,

       My understanding is that Mr. Sanchez rushed to the third manhole without his
       PPE on, without his face shield, without his jacket, Class 3 gloves, went down
       there and immediately cut the wrong cable. Mr. Rankin had no time to get to the
       hole. David Breiten, the apprentice, had no time to get to the hole and the trainee
       helper had not time to get to the manhole. So, yes, I was aware that Lonnie
       Rankin was not at the top of the hole because of Mr. Sanchez’s lack of safety,
       lack of following the rules, lack of judgment and rushing into the manhole to cut
       the wrong cable without full PPE resulting in his injury and going to SAMMC.

       Luschen depo. at 94.




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       Plaintiff fails to establish that his safety violations with regard to the September 21, 2015

incident, standing alone, were not a legitimate nondiscriminatory reason for his termination. As

noted, CPS Energy policy establishes that a serious safety violation may be the basis for

termination. Def. Ex. 10 (Corrective Action Policy) (providing that safety infractions may result

in immediate termination). Thus, even a single safety violation could provide a basis for

termination under CPS policy. Although Plaintiff takes issue with the assertion that he was not

wearing his required PPE, he cannot refute that he cut the wrong cable despite having marked the

correct cable himself. Nor does he dispute that he went into the third manhole without waiting

for his apprentice or his foreman.

       Although Plaintiff has evidence that many of the decisionmakers were aware of

Plaintiff’s expressed fear and that he had been referred to counseling, and contends that they

could infer or actually knew that he had PTSD, this fails to demonstrate that disability

discrimination, rather than the legitimate nondiscriminatory reason asserted, played a causal role

in the termination decision. All of the decisionmakers and those who had input into the decision

testified that PTSD was not discussed at the February 23 meeting. Bonewell expressly testified

that PTSD was not discussed. Bonewell depo. at 107. No one testified, and there is no evidence,

that their belief or knowledge that he had PTSD or how it might affect his job performance

played any role in the termination decision.

       The closest Plaintiff comes is this testimony of Fred Bonewell (at 67):

       Q. Have you ever heard of PTSD?

       A. I did not hear about PTSD until 2017.

       Q. What does PTSD stand for?

       A. I can't even -- I don't know.



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       Q. And what did you hear about PTSD in 2017?

       A. It was told to me by Mr. Garza what it was in 2017 when the -- we had a
       collaborative meeting with respect to determining Mr. Sanchez’s viability to work
       at CPS, Mr. Garza explained to me what PTSD is. It's the first time I had heard
       about that. I did not grow up here. I wasn't necessarily from a military family. But
       he told me about PTSD at that time frame. That's the first time I became aware of
       it.

       But the fact that Garza may have explained what PTSD is in the context of a discussion

“determining Mr. Sanchez’s viability to work at CPS” does not mean that anyone considered his

PTSD as a causative factor in the termination decision on February 23 or any other time.

Moreover, this testimony was clarified later the in deposition (pages 100-101):

       Q. Earlier today I asked you about PTSD and you mentioned a discussion with
       Lauro Garza in 2017, but then we talked about the year of the termination and so I
       don't know if you were correcting the year 2017 as when you spoke to Lauro
       Garza about PTSD and I want to make sure your testimony is clear in the
       deposition. What is your best recollection of when you had the discussion with
       Lauro Garza with regard to learning about PTSD?

       A. He told me that sometime in 2016.

       Q. Was this before or after Gabriel Sanchez's termination that you discussed
       PTSD with Lauro Garza?

       A. I don't remember.

       Q. So it's possible it was before Gabriel Sanchez was terminated and it's possible
       it was after Gabriel Sanchez was terminated that you had this discussion with
       Lauro Garza about PTSD; is that correct?

       A. It could have been either. . . .

       Q. Okay. What was the impetus of the discussion with Lauro Garza about PTSD?

       A. Lauro was reflecting on his own personal condition.

       Q. What do you mean by that?

       A. He was explaining to me what it was and that he had it and he was trying to
       articulate how that has impacted his life.



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       Q. Do you know how that topic of discussion came up between you and him?

       A. No.

       Q. Was anyone else present when you had this conversation about PTSD with Mr. Garza?

        A. It was he and I.

       Thus, this further discussion makes clear that they were not discussing PTSD at the

February 23 meeting at which the termination decision was made, and that they were not even

discussing Plaintiff’s PTSD, but Garza’s PTSD. Garza testified that he was not even aware that

Plaintiff had been diagnosed with PTSD until he was preparing for his deposition. Garza depo. at

86. Thus, the evidence does not support an inference that Plaintiff’s PTSD was discussed as a

basis for Plaintiff’s continued employment viability.

       Plaintiff faults CPS for not interviewing him or getting his side of the story and takes

issue with the investigation into his allegations of teasing and harassment as the cause of his

behavior on September 21, but a deficient investigation or an investigation that reaches an

erroneous conclusion does not establish discriminatory motive. Medlock v. Ace Cash Exp. Inc.,

589 F. App’x 707, 710 (5th Cir. 2014); Bryant v. Compass Group USA Inc., 413 F.3d 471, 478

(5th Cir. 2005) (“While the prudent action may have been to discuss the event with [plaintiff]

and obtain his side of the story before terminating him, evidence that the employer’s

investigation merely came to an incorrect conclusion dos not establish a [discriminatory]

motivation behind an adverse employment decision.”). Even an incorrect belief that an

employee’s performance is inadequate constitutes a legitimate, non-discriminatory reason for

termination. Little v. Republic Ref’g Co., 924 F.2d 93, 97 (5th Cir. 1991). Further, even if

Plaintiff is correct that the alleged teasing constitutes prohibited harassment under CPS’s anti-

harassment policy and thus should have been reported to HR and investigated by HR, Lujan and



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Luschen’s alleged failure to comply with the reporting requirement still fails to establish pretext

or that disability discrimination played a causal role in his termination. Regardless of the asserted

reason for his behavior, Plaintiff engaged in unsafe conduct causing significant injury, and that

conduct was the basis for his termination. None of the alleged departures from CPS policies

undermine the asserted basis for termination, establish pretext, or establish disability

discrimination as a causative factor.18

         In sum, CPS Energy offered a legitimate, nondiscriminatory reason for terminating

Plaintiff. Plaintiff offered a variety of evidence attempting to show that the reason is unworthy of

credence, but it does not suffice. Even if Plaintiff was teased and even if the decisionmakers

were aware that he had PTSD or believed that he had it, a reasonable factfinder could not infer

from the evidence that CPS’s proffered motivation is not true and that it discriminated against

Plaintiff based on actual or perceived disability.

                                                   Conclusion

         Defendant CPS Energy’s Motion for Summary Judgment (docket no. 39) is GRANTED.

Plaintiff has failed to raise a material fact issue as to whether he was qualified at the time of his

termination and has failed to raise a material fact issue on pretext/causation.

         The Clerk shall enter Judgment pursuant to Rule 58 that Plaintiff shall take nothing by his

claims and that his claims are dismissed with prejudice.




18
  A mere alleged failure to follow internal policies is insufficient on its own to show pretext. Plaintiff must also
point to evidence that he was treated differently than similarly situated employees or show a nexus between the
procedural departure and his disability. See Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 346 (5th Cir.
2007) (“A defendant’s failure to follow its own policy is not probative of discriminatory animus in absence of proof
that the plaintiff was treated differently than other non-minority employees because Title VII does not protect
employees from the arbitrary employment practices of their employer, only their discriminatory impact.”) (quotation
marks omitted); see also Powers v. Dallas Cty. Cmty. Coll. Dist., No. CA3:96-1087-BC, 1997 WL 446442, at *7
(N.D. Tex. Jul. 16, 1997) (“an employer’s failure to follow it’s [sic] own procedures does not conclusively establish
pretext absent some kind of nexus between the employment action and the employee’s [protected category]”).

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Defendant may file a bill of costs pursuant to the Local Rules.

Docket numbers 31 and 32 are DISMISSED AS MOOT.

SIGNED this 17th day of May, 2019.




                                    _________________________________
                                    XAVIER RODRIGUEZ
                                    UNITED STATES DISTRICT JUDGE




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